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                                EXHIBIT 4




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                                               July 27, 2021

Janet Woodcock, MD
Acting Commissioner
Food and Drug Administration
10903 New Hampshire Ave
Silver Spring, MD 20993

Dear Acting Commissioner Woodcock,

I am writing to request, in accordance with Code of Federal Regulations (CFR) Title 21 Part 15
Subpart B,1 that a public hearing be scheduled to clarify the Food and Drug Administration’s
position on the use of N-acetyl-L-cysteine (NAC) in dietary supplements.

Last year, the FDA sent warning letters to multiple dietary supplement companies regarding the
inclusion of NAC in products utilized to diminish hangovers that result from alcohol
intoxication.2

NAC has been used as an ingredient in dietary supplements products for decades, and the
National Institutes of Health Dietary Supplement Label Database identifies the use of NAC in
nearly 1,500 dietary supplement products.3 Thus, the FDA’s recent communications claiming
that “NAC products are excluded from the dietary supplement definition under section
201(ff)(3)(B)(i) of the [Federal Food, Drug, and Cosmetic Act] Act [21 U.S.C. §
321(ff)(3)(B)(i)]”4 is of great concern to many in the dietary supplements industry who seek to
provide legal and safe products to consumers and are concerned about the precedent this would
set.5

1
  21 CFR15.20 https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=15.20
2
  FDA Sends Warning Letters to Seven Companies Illegally Selling Hangover Products. (July 29, 2020).
https://www.fda.gov/food/cfsan-constituent-updates/fda-sends-warning-letters-seven-companies-illegally-selling-
hangover-products
3
  National Institutes of Health, Dietary Supplement Label Database. (Accessed July 6, 2021).
https://dsld.od.nih.gov/dsld/lstIngredients.jsp?list=n
4
  FDA Warning Letter to LES Labs. (July 23, 2020). https://www.fda.gov/inspections-compliance-enforcement-and-
criminal-investigations/warning-letters/les-labs-593764-07232020
5
  See for example, Council for Responsible Nutrition Citizen Petition Requesting FDA Allow N-acetyl-L-cysteine
(NAC) to be Marketed as a Dietary Supplement, June 1, 2020.
https://www.crnusa.org/sites/default/files/Daily/2021-06/CRN%20NAC%20Citizen%20Petition%20--
%206.1.21%20Final.pdf


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The sudden change of policy expressed in these FDA warning letters conflicts with historical
precedent, including that the FDA has permitted NAC to be included as an ingredient in dietary
supplement products for decades. To gain clarity on this change in policy, I request that the FDA
respond to the following questions:

       1. What is the basis for the FDA’s sudden change in its long-standing policy on the
          inclusion of NAC in the formulation of dietary supplement products (setting aside the
          use of impermissible therapeutic claims that would appropriately restrict the marketing
          of products containing NAC on that basis)?
       2. The NIH Office of Dietary Supplements stated that during the COVID-19 pandemic,
          “No safety concerns have been reported for products labeled as dietary supplements that
          contain NAC.”6 Please provide my office with a complete list of every serious adverse
          event report submitted to the FDA that has resulted from consumer use of products
          containing NAC.
       3. The FDA’s Dietary Supplement website appears to present confusing and possibly
          inaccurate information on the date at which NAC was first identified or designated as a
          drug. Those inaccuracies raise a question as to whether the drug exclusion criteria under
          the Dietary Supplement Health and Education Act (DSHEA) would preclude NAC from
          being included as an ingredient in a dietary supplement. Please provide a response to the
          FDA’s position on the following issues:
                a. How many structure/function claim notifications for NAC products have been
                   submitted to the FDA for review and how many new dietary ingredient
                   notifications (NDINs) for NAC products have been submitted to the FDA
                   review? Of those, how many did the FDA determine to be inappropriate for
                   marketing?
                b. How many enforcement actions did the FDA take to address the marketing of
                   NAC products by companies attempting to receive an NDIN for those products?
                c. In a 2016 review of a qualified health claim application by Sevo Neutraceuticals
                   the FDA characterized NAC as a “nutritional substance.”7 In contrast to this
                   characterization, the FDA alleged in its 2020 warning letters that NAC is a drug
                   that was approved prior to the passage of DSHEA and therefore cannot be
                   marketed as a dietary supplement or a nutritional substance. How does the FDA
                   reconcile the contradiction between these two characterizations of NAC?
                d. What was the specific date at which the FDA identified NAC was being used in
                   consumer products in the United States, both as a drug and as a dietary
                   supplement or dietary ingredient?




6
    https://ods.od.nih.gov/factsheets/COVID19-HealthProfessional/
7
    https://www.fda.gov/media/119441/download


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                    i. In your response, please also provide an analysis of the composition of
                       the NAC present in the application for approval as a drug at that time and
                       the composition of NAC as a dietary supplement at that time.
                    ii. Please also provide all documents supporting the FDA’s approval of NAC
                        as a drug. In addition, please provide the Orange Book listing of any drug
                        showing NAC as an active ingredient on the date in the 1960s that the
                        FDA purports it approved the drug.

             e. DSHEA was not intended to allow the FDA to remove products marketed as
                supplements from the marketplace in order to create an arguable advantage for
                any company marketing a drug with a previously used dietary supplement, such
                as NAC, as the active ingredient. Given this, what is the FDA’s position on
                whether NAC should be banned from formulated dietary supplements under
                DSHEA’s drug exclusion criteria?
             f. I have been told that records have been submitted to the FDA demonstrating that
                NAC was safely on the market prior to the passage of DSHEA. Does the FDA
                believe the intent of DSHEA is to remove products that were safely on the
                market prior to 1994?
             g. Does the FDA intend to remove from consumer access the more than 1,170
                products containing NAC that are listed on the NIH’s Dietary Supplement Label
                Database?

As you may know, the dietary supplements industry is the second-largest industry in my home
State of Utah, and this matter is of very strong interest to me and my constituents. In addition to
answering these questions, scheduling a public hearing would be greatly beneficial as the dietary
supplements industry seeks clarity on the FDA’s actions regarding NAC. I look forward to
receiving your response by Tuesday, August 10, 2021.

Sincerely,




Senator Michael S. Lee




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